

People v Qadir Y. (2023 NY Slip Op 05102)





People v Qadir Y.


2023 NY Slip Op 05102


Decided on October 10, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 10, 2023

Before: Manzanet-Daniels, J.P., Gesmer, González, Kennedy, O'Neill Levy, JJ. 


Ind. No. 4082/17, 1477/17, 1635/17 Appeal No. 747-748 Case No. 2019-5358, 2018-03318 

[*1]The People of the State of New York, Respondent,
vQadir Y., Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Claire Glass of counsel), for appellant.



Judgment, Supreme Court, New York County (Guy H. Mitchell, J.), rendered April 11, 2018, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, adjudicating him a youthful offender and sentencing him to a term of 1&amp;frac13; to 4 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and court fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the mandatory surcharge
and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 10, 2023








